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                         UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA TAMPA
                                   DIVISION

  Proven Industries, Inc.,
  a Florida corporation,
                                                Case No.: 8:25-cv-01119-MSS-LSG
  Plaintiff,

  vs.

  Trevor McNally,
  Individual,
  Defendant.

                            PLAINTIFF’S EXHIBIT LIST
                     FROM PRELIMINARY INJUNCTION HEARING
                        PURSUANT TO LOCAL RULE 3.07(C)

 I.            INTRODUCTION

        Plaintiff, Proven Industries, Inc. (“Proven”), by and through undersigned counsel,

 and in accordance with Local Rule 3.07(c), hereby files this Exhibit List, following the

 evidentiary hearing held on June 13, 2025, on Plaintiff’s Emergency Motion for

 Preliminary Injunction [DE 10]. Proven previously filed and made of record all

 exhibits identified herein as noted in the docket entry in the description of each listed

 exhibit.

 II.           EXHIBITS LIST

        Proven identifies the following exhibits for the hearing held on June 13, 2025:

  Exhibit             Date                             Description
                   Identified
          1.       06/02/2025   [DE 10-1] Exhibit B-1, Proven’s Video – See Notice of
                                Manual Filing of Video Exhibits in Support of Plaintiff's
                                Emergency Motion for Preliminary Injunction

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      2.     06/02/2025   [DE 10-1] Exhibit B-2, McNally Part 1 Video – See Notice
                          of Manual Filing of Video Exhibits in Support of Plaintiff's
                          Emergency Motion for Preliminary Injunction
      3.     06/02/2025   [DE 10-1] Exhibit B-3, McNally Part 2 Video – See Notice
                          of Manual Filing of Video Exhibits in Support of Plaintiff's
                          Emergency Motion for Preliminary Injunction
      4.     06/02/2025   [DE 10-1] Exhibit B-4, McNally Part 3 Video – See
                          Notice of Manual Filing of Video Exhibits in Support of
                          Plaintiff's Emergency Motion for Preliminary Injunction
      5.     06/02/2025   [DE 10-1] Exhibit B-5, McNally Part 4 Video – See Notice
                          of Manual Filing of Video Exhibits in Support of Plaintiff's
                          Emergency Motion for Preliminary Injunction
      6.     06/11/2025   [DE 18-1] Deposit Copy of Proven’s Video – See Notice of
                          Manual Filing of Video Exhibits For Second
                          Supplemental Declaration of Anthony Sansone and
                          Plaintiff’s Reply To Defendant’s Opposition To Plaintiff’s
                          Emergency Motion for Preliminary Injunction
      7.     06/02/2025   [DE 10-1] Notice of Manual Filing of Video Exhibits
                          in Support of Plaintiff's Emergency Motion for
                          Preliminary Injunction
      8.     06/02/2025   [DE 10-3] Proven’s Declaration of Anthony Bonfiglio In
                          Support of Plaintiff's Emergency Motion for Preliminary
                          Injunction
      9.     06/02/2025   [DE 10-4] Proven’s Declaration of Christopher Canning
                          In Support of Plaintiff's Emergency Motion for
                          Preliminary Injunction
     10.     06/02/2025   [DE 10-5] Proven’s Declaration of Anthony Sansone In
                          Support of Plaintiff's Emergency Motion for Preliminary
                          Injunction
     11.     06/02/2025   [DE 10-6] Proven’s Supplemental Declaration of Anthony
                          Sansone In Support of Plaintiff's Emergency Motion for
                          Preliminary Injunction
     12.     06/02/2025   [DE 10-7] Proven’s Exhibit A, U.S. Reg. No. PA 2-524-
                          347
     13.     06/02/2025   [DE 10-8] Proven’s Exhibit C, Screenshots of Defendant’s
                          YouTube Channel, TikTok, Instagram, and Facebook as
                          corresponding with Declaration of Anthony Sansone
     14.     06/02/2025   [DE 10-9] Proven’s Declaration of Derek Fahey, Esq. In
                          Support of Plaintiff's Emergency Motion for Preliminary
                          Injunction
     15.     06/02/2025   [DE 10-11] Proven’s Exhibit C, email correspondence
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                          with Opposing Counsel as corresponding with
                          Declaration of Derek Fahey, Esq.
     16.     06/02/2025   [DE 10-12] Proven’s Declaration of Ronald James Lee, II
                          In Support of Plaintiff's Emergency Motion for
                          Preliminary Injunction
     17.     06/02/2025   [DE 10-15] Proven’s Exhibit D, Screenshot of text
                          messages from Mr. Lee to two different phone numbers as
                          corresponding with Declaration of Ronald James Lee, II
     18.     06/02/2025   [DE 10-16] Proven’s Exhibit E, Screenshot of a product
                          return explicitly citing the McNally Video as
                          corresponding with Declaration of Ronald James Lee, II
     19.     06/02/2025   [DE 10-17] Proven’s Exhibit F, Screenshot of a repeat
                          customer that was hesitant to purchase after viewing the
                          video as corresponding with Declaration of Ronald James
                          Lee, II
     20.     06/02/2025   [DE 10-18] Proven’s Exhibit G, Screenshot of reports,
                          emails, and messages from customer service about
                          disruptive inquiries stemming from the video as
                          corresponding with Declaration of Ronald James Lee, II
     21.     06/02/2025   [DE 10-19] Proven’s Exhibit H, Screenshot of comments
                          posted on some of Proven’s videos after Defendant
                          published the Part 1 Video as corresponding with
                          Declaration of Ronald James Lee, II
     22.     06/02/2025   [DE 10-20] Proven’s Exhibit I, Screenshots of Proven’s
                          customer service department’s increased amount of very
                          disturbing messages from McNally social media followers
                          as corresponding with Declaration of Ronald James Lee,
                          II
     23.     06/02/2025   [DK 10-21] Proven’s Exhibit J, Screenshot of one of
                          Proven’s customers saying that they would not buy from
                          Proven because Proven “harass[ed] someone’s wife” as
                          corresponding with Declaration of Ronald James Lee, II
     24.     06/02/2025   [DE 10-22] Proven’s Exhibit K, Screenshot wherein one
                          of Proven’s customer services representatives, Mr. David
                          Smith, complained about the hundreds of messages he
                          received and read from McNally followers in the past few
                          days. In an email, he complained about the disturbing
                          messages he received and questioned if he should be
                          concerned for his safety as corresponding with
                          Declaration of Ronald James Lee, II
     25.     06/02/2025   [DE 10-23] Proven’s Exhibit L, Screenshots showing
                          continuous stream of harassing phone calls and text

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                          messages from unknown numbers at all hours of the day
                          and night as corresponding with Declaration of Ronald
                          James Lee, II
     26.     06/02/2025   [DE 10-24] Proven’s Exhibit M, Screenshots showing
                          harassing messages directed to Erin Schweitzer through
                          Facebook Messenger as corresponding with Declaration
                          of Ronald James Lee, II
     27.     06/02/2025   [DE 10-25] Proven’s Exhibit N, Screenshots showing vile
                          and threatening messages, including derogatory slurs and
                          explicit threats of violence, directed to Anthony Sansone’s
                          son as corresponding with Declaration of Ronald James
                          Lee, II
     28.     06/02/2025   [DE 10-26] Proven’s Exhibit O, Screenshots showing
                          Proven employees being called out and contacted by name
                          as corresponding with Declaration of Ronald James Lee,
                          II
     29.     06/02/2025   [DE 10-27] Proven’s Exhibit P, Screenshots showing a
                          measurable decrease in Proven’s revenue and in sales on
                          Amazon as corresponding with Declaration of Ronald
                          James Lee, II
     30.     06/02/2025   [DE 10-28] Proven’s Exhibit Q, Screenshots showing a
                          large increase in negative comments on Meta Ad and
                          Google Ad posts with many of them mentioning McNally
                          or opening their locks with cans as corresponding with
                          Declaration of Ronald James Lee, II
     31.     06/02/2025   [DE 10-29] Proven’s Exhibit R, Screenshots showing a
                          substantial influx of messages and customer service tickets
                          that have disrupted business operations as corresponding
                          with Declaration of Ronald James Lee, II
     32.     06/02/2025   [DE 10-30] Proven’s Exhibit S, Screenshots evidencing
                          that McNally understands and exploits the foreseeable
                          harm to the companies he targets as corresponding with
                          Declaration of Ronald James Lee, II
     33.     06/06/2025   [DE 15] Declaration of Trevor McNally
     34.     06/06/2025   [DE 15-1] Defendant’s Exhibit A, Screenshots showing a
                          comment made by Proven on Social Media as
                          corresponding with Declaration of Trevor McNally
     35.     06/06/2025   [DE 15-2] Defendant’s Exhibit B, Photograph of the
                          universal vending machine core used by Proven Seen on
                          Proven’s Website as corresponding with Declaration of
                          Trevor McNally
     36.     06/06/2025   [DE 15-3] Defendant’s Exhibit C, Photograph of the
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                          universal vending machine core used by Proven Seen on
                          Proven’s Amazon listing as corresponding with
                          Declaration of Trevor McNally
     37.     06/06/2025   [DE 15-4] Defendant’s Exhibit D, Screenshot of Proven’s
                          April 3, 2025, direct message as corresponding with
                          Declaration of Trevor McNally
     38.     06/06/2025   [DE 15-5] Defendant’s Exhibit E, Screenshot of Proven’s
                          comment as corresponding with Declaration of Trevor
                          McNally
     39.     06/06/2025   [DE 15-6] Defendant’s Exhibit F, Screenshot of Proven’s
                          comment as corresponding with Declaration of Trevor
                          McNally
     40.     06/06/2025   [DE 15-7] Defendant’s Exhibit G, Screenshot of Proven’s
                          comment as corresponding with Declaration of Trevor
                          McNally
     41.     06/06/2025   [DE 15-8] Defendant’s Exhibit H, Screenshot of Proven’s
                          comment as corresponding with Declaration of Trevor
                          McNally
     42.     06/06/2025   [DE 15-9] Defendant’s Exhibit I, Screenshot of Proven’s
                          comment made by an employee as corresponding with
                          Declaration of Trevor McNally
     43.     06/06/2025   [DE 15-10] Defendant’s Exhibit J, Screenshot of Proven’s
                          comment as corresponding with Declaration of Trevor
                          McNally
     44.     06/06/2025   [DE 15-11] Defendant’s Exhibit K, Screenshot of Proven’s
                          comment as corresponding with Declaration of Trevor
                          McNally
     45.     06/06/2025   [DE 15-12] Defendant’s Exhibit L, Screenshot of Proven’s
                          comment as corresponding with Declaration of Trevor
                          McNally
     46.     06/06/2025   [DE 15-13] Defendant’s Exhibit M, Screenshot of
                          Proven’s comment as corresponding with Declaration of
                          Trevor McNally
     47.     06/10/2025   [DE 18] Second Supplemental Declaration of Anthony
                          Sansone
     48.     06/10/2025   [DE 18-1] Exhibit A to Second Supplemental Declaration
                          of Anthony Sansone - McNally Part 6 Video – See Notice
                          of Manual Filing of Video Exhibits For Second
                          Supplemental Declaration of Anthony Sansone and
                          Plaintiff’s Reply To Defendant’s Opposition To Plaintiff’s
                          Emergency Motion for Preliminary Injunction

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      49.       06/10/2025       [DE 18-1] Exhibit B to Second Supplemental Declaration
                                 of Anthony Sansone - McNally Part 5 Video - See Notice
                                 of Manual Filing of Video Exhibits For Second
                                 Supplemental Declaration of Anthony Sansone and
                                 Plaintiff’s Reply To Defendant’s Opposition To Plaintiff’s
                                 Emergency Motion for Preliminary Injunction
      50.       06/10/2025       [DE 18-1], Notice of Manual Filing of Video Exhibits
                                 For Second Supplemental Declaration of Anthony
                                 Sansone and Plaintiff’s Reply To Defendant’s Opposition
                                 To Plaintiff’s Emergency Motion for Preliminary
                                 Injunction
      51.       06/10/2025       [DE 18-2], Exhibit C - Location on Proven’s website
                                 where users can purchase different cores for the latch pin
                                 lock, the puck lock, and the container lock For Second
                                 Supplemental Declaration of Anthony Sansone and
                                 Plaintiff’s Reply To Defendant’s Opposition To Plaintiff’s
                                 Emergency Motion for Preliminary Injunction
      52.       06/10/2025       [DE 18-1] Exhibit D to Second Supplemental Declaration
                                 of Anthony Sansone - YouTube video by “Lock Skipper”
                                 entitled Proven Trailer Lock upgrades to prevent bypass!
                                 Educate and protect! – See Notice of Manual Filing of
                                 Video Exhibits For Second Supplemental Declaration of
                                 Anthony Sansone and Plaintiff’s Reply To Defendant’s
                                 Opposition To Plaintiff’s Emergency Motion for
                                 Preliminary Injunction
      53.       05/01/2025       [DE 01] Verified Complaint
      54.       05/01/2025       [DE 01] Exhibit B - McNally Videos – Composite of
                                 Verified Complaint
      55.       05/01/2025       [DE 01] Exhibit D - Misleading Messages of Verified
                                 Complaint

  Dated: June 17, 2025                          Respectfully submitted,

  The Plus IP Firm, PLLC                        /Derek Fahey/
  400 N Ashley Dr Ste 1900,                     Derek R. Fahey, Esq.
  Tampa, FL 33602-4311                          The Plus IP Firm, PLLC
  Telephone: (954) 332-3584                     Fla. Bar. No. 88194
                                                Email: Derek@plusfirm.com
  Attorneys for Proven Industries, Inc.         Attorney for Plaintiff
                                                LEAD ATTORNEY TO BE NOTICED

                                                /Austin Nowacki/
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                                      Austin R. Nowacki, Esq.
                                      The Plus IP Firm, PLLC
                                      Fla. Bar. No. 1016961
                                      Email: austin@plusfirm.com
                                      Attorney for Plaintiff




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                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the date set forth below, I electronically filed
 the foregoing document with the Clerk of Court by using the CM/ECF system. I
 further certify that I either mailed the foregoing document and the Notice of
 Electronic Filing by first class mail to any non CM/ECF participants and/or the
 foregoing document was served via transmission of Notice of Electronic Filing
 generated by CM/ECF to any and all active CM/ECF participants.

  Dated: June 17, 2025                    s/     Derek Fahey
                                          Derek R. Fahey, Esq.
                                          The Plus IP Firm, PLLC
                                          Fla. Bar. No. 88194
                                          400 N Ashley Dr Ste 1900,
                                          Tampa, FL 33602-4311
                                          Telephone: (954) 332-3584
                                          Email: Derek@plusfirm.com
                                          Attorney for Plaintiff
                                          LEAD ATTORNEY TO BE NOTICED




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